                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                   AKRON DIVISION

 In Re:                                           Case No. 19-51920-amk

 Julie A. Fox                                     Chapter 13

 Debtor.                                          Judge Alan M. Koschik

                                    NOTICE OF APPEARANCE

       Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.
Bankruptcy Court, Northern District of Ohio, and enters an appearance on behalf of U.S. Bank
Trust National Association, as Trustee of the SCIG Series III Trust (‘Creditor’), in the above
captioned proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor

                                CERTIFICATE OF SERVICE

I certify that on October 23, 2019, a true and correct copy of this Notice was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          Michael J. Moran, Debtor’s Counsel
          mike@gibsonmoran.com

          Keith Rucinski, Trustee
          efilings@ch13akron.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov




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And by regular U.S. Mail, postage pre-paid on:

       Julie A. Fox, Debtor
       13277 Bursley Road
       Spencer, OH 44275

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (0083702)
                                                 Attorney for Creditor




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